 Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 1 of 52 Page ID
                                 #:16283


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 9                     UNITED STATES DISTRICT COURT
10                   CENTRAL DISTRICT OF CALIFORNIA
11
12                              )
                                )           Case No. CV 10-5830 JGB
13   AFMS LLC,                  )           (AJWx)
                                )
14                              )           ORDER GRANTING
                     Plaintiff, )           DEFENDANTS’ MOTIONS FOR
15                              )           SUMMARY JUDGMENT
            v.                  )
16                              )
     UNITED PARCEL SERVICE      )
17   CO.; FEDEX CORPORATION,    )
                                )
18                              )
                    Defendants. )
19                              )
20
          Before the Court are two motions for summary
21
     judgment filed by Defendants United Parcel Service Co.
22
     and FedEx Corporation.         After considering all of the
23
     papers filed in support of and in opposition to the
24
     motions, as well as the arguments presented at the
25
     October 2, 2014, hearing, the Court GRANTS the
26
     motions.
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 Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 2 of 52 Page ID
                                 #:16284


 1                             I.     BACKGROUND
 2
 3        Plaintiff AFMS LLC (“AFMS”) commenced this
 4   antitrust action against United Parcel Service Co.
 5   (“UPS”) and FedEx Corporation (“FedEx”) (collectively,
 6   “Defendants”) on August 5, 2010.             (Doc. No. 1.)       After
 7   AFMS filed a First Amended Complaint, (“FAC,” Doc. No.
 8   31), Defendants moved to dismiss, and, on May 27,
 9   2011, the Court (Morrow, J.) granted their motions on
10   the grounds that AFMS failed to plead sufficient facts
11   to show that it had antitrust standing and failed to
12   allege the type of anticompetitive conduct that would
13   support a monopolization claim, (“MTD 1 Order,” Doc.
14   No. 55).     The FAC alleged that AFMS suffered injury in
15   the relevant market for the business of delivering
16   time sensitive letters, documents, and packages within
17   the United States and to and from foreign countries.
18   (FAC ¶ 16.)      The Court held that AFMS lacked standing
19   because it is not a participant in the alleged market,
20   since it is not “‘in the chain of distribution’ for
21   shipping and delivery services,” “rather it offer[s]
22   advice and assistance to one side of the purchase/sale
23   transaction.”      (MTD 1 Order at 17-18 (internal
24   quotation omitted).)           Consequently, the Court found
25   AFMS had not adequately alleged that it suffered
26   antitrust injury and dismissed, with leave to amend,
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 Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 3 of 52 Page ID
                                 #:16285


 1   AFMS’s claim under Section 1 of the Sherman Act, 15
 2   U.S.C. § 1.      (Id. at 23-24.)1
 3        AFMS filed a Second Amended Complaint on June 24,
 4   2011.     (“SAC,” Doc. No. 56.)        Defendants again moved
 5   to dismiss, and this time, the Court (Morrow, J.)
 6   found that AFMS adequately alleged antitrust standing
 7   but dismissed the claims under Sections 1 and 2 of the
 8   Sherman Act on the grounds that they were conclusory
 9   and stated insufficient facts.             (“MTD 2 Order,” Doc.
10   No. 74.)     In the SAC, AFMS alleged that the parties
11   are all “participants in the market for shipping
12   consultation services, which is comprised of those
13   business entities which advise shippers regarding the
14   delivery of time sensitive letters, documents and
15   packages by air or by ground within the United States
16   and to and from the United States to foreign
17   countries.”      (SAC ¶ 11.)      The Court found that AFMS
18   adequately alleged that it competes with Defendants in
19   this market and that it was directly injured by
20   Defendants’ decision to cease dealing with third-party
21   shipping consultants like Plaintiff.              (MTD 2 Order at
22   33-34.)     The Court nonetheless dismissed AFMS’s
23   Section 1 claim because its allegations of injury to
24
25        1The Court also dismissed AFMS’s claim for
26   monopolization under Section 2 of the Sherman Act, 15
     U.S.C. § 2, for failing to allege the type of
27   anticompetitive conduct that will support such a claim.
     (MTD 1 Order at 29-31.)
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 Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 4 of 52 Page ID
                                 #:16286


 1   competition were “wholly conclusory and [were]
 2   unsupported by specific facts.”            (MTD 2 Order at 34-
 3   37.)       Once again, the Court granted AFMS leave to
 4   amend its pleading.        (Id. at 48.)2
 5          On December 12, 2011, AFMS filed the operative
 6   Third Amended Complaint.          (“TAC,” Doc. No. 76.)          The
 7   TAC states three claims under Section 1 of the Sherman
 8   Act, 15 U.S.C. § 1.        The first claim alleges that,
 9   since the fall of 2009, FedEx and UPS “combined and
10   conspired to unreasonably restrain trade and commerce
11   in the market for shipping consultation services for
12   the delivery of time sensitive letters, documents and
13   packages by air or ground.”           (TAC ¶ 24.)      Claim one
14   alleges that Defendants refuse to deal with any third-
15   party consultants (“TPCs”) and refuse to negotiate or
16   discuss discounts with shippers who share data with or
17   retain TPCs.       (Id.)   As a result, the TAC contends
18   that prices for the delivery of time sensitive
19   materials increased, TPCs’ businesses suffered, and
20   competition between shipping consultants and
21   Defendants’ diminished.          (Id. ¶¶ 24-27.)       The second
22   and third claims contend that UPS and FedEx,
23   individually, have, “by a series of non-disclosure
24
            2
           For a second time, the Court dismissed AFMS’s
25   claim for monopolization or attempted monopolization
26   under Section 2 of the Sherman Act because AFMS failed
     to allege the existence of viable, single-brand
27   submarkets. (MTD 2 Order at 38-48.) AFMS did not
     replead this claim in its Third Amended Complaint.
28   (See Doc. No. 76.)
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 Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 5 of 52 Page ID
                                 #:16287


 1   agreements and customer/carrier contracts . . . ,
 2   unreasonably restrained competition, trade, and
 3   commerce in the market for shipping consultation
 4   services for the delivery of time sensitive letters,
 5   documents and packages by air or ground.”                (Id. ¶¶ 30,
 6   36.)    According to AFMS, these agreements and
 7   contracts restrict or revoke the shippers’ ability to
 8   share information with TPCs, thereby directly
 9   threatening the TPCs’ business.            (Id. ¶¶ 31, 37.)          Due
10   to Defendants’ conduct, AFMS estimates that its
11   damages are in the range of $15 to $20 million.                  (Id.
12   ¶¶ 28, 34, 40.)       Defendants answered the TAC on
13   January 16, 2012.        (Doc. Nos. 81, 82.)
14          On May 1, 2013, UPS and FedEx each filed a motion
15   for summary judgment.         (Doc. Nos. 130, 140.)          While
16   the motions were pending, UPS filed two motions in
17   limine to exclude AFMS experts Stuart Brotman
18   (“Brotman”) and David Campbell (“Campbell”).                 (Doc.
19   Nos. 167, 168.)       FedEx joined UPS’s motions in limine.
20   (Doc. Nos. 172, 173.)         The Court heard oral argument
21   on the in limine motions on January 27, 2014, and
22   issued an order granting them on February 5, 2014.
23   (“MiL Order,” Doc. No. 252.)           The Court held that it
24   would not consider the reports and testimony of
25   Brotman and Campbell in deciding Defendants’ motions
26   for summary judgment.         (Id. at 12.)       Accordingly, in
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 Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 6 of 52 Page ID
                                 #:16288


 1   this Order, the Court does not rely on any exhibits or
 2   testimony from Brotman or Campbell.
 3        On March 5, 2014, UPS applied for leave to file a
 4   supplemental brief addressing the impact of the
 5   Court’s order excluding Brotman on its pending motion
 6   for summary judgment.         (“Appl.,” Doc. No. 257.)           AFMS
 7   opposed the application on March 14, 2014.                (Doc. No.
 8   258.)     If the Court granted UPS’s application, the
 9   parties stipulated to allow AFMS to file a ten-page
10   response to UPS’s supplemental brief.              (Doc. No. 256.)
11   In its proposed supplemental brief, UPS contends that
12   the exclusion of Brotman “further highlights the
13   insufficiency of AFMS’s factual showing regarding
14   necessary elements of its claims.”             (Appl., Exh. A at
15   1 (emphasis omitted).)         Given the enormity of the
16   summary judgment record in this action, the Court
17   cannot fathom why any additional briefing to “further
18   highlight[]” arguments previously made is necessary or
19   useful.     Because supplemental briefing pertaining to
20   Brotman’s exclusion is not helpful or desirable, the
21   Court DENIES UPS’s application.            (Doc. No. 257.)        In
22   accordance with this ruling, the Court DENIES the
23   parties’ stipulation setting a supplemental briefing
24   schedule.     (Doc. No. 256.)
25        The parties initially applied to seal a
26   substantial portion of the summary judgment briefing
27   and evidence.      (See Doc. Nos. 139, 142, 146, 150, 161,
28
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 Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 7 of 52 Page ID
                                 #:16289


 1   186, 197, 199, 203.)         On January 15, 2014, the Court
 2   denied the parties’ applications and stipulation to
 3   file the documents under seal because they failed to
 4   identify or meet the compelling reasons standard
 5   required for sealing documents connected to a
 6   dispositive motion.        (Doc. No. 211.)        The Court
 7   permitted the parties to renew their applications to
 8   seal.   (Id. at 2-3.)
 9        On February 4 and 5, 2014, the parties refiled
10   their summary judgment documents, redacting
11   significantly less material from their public filings
12   and applying to seal limited portions of the record to
13   prevent prejudice or harm from disclosure.                (Doc. Nos.
14   217, 228, 235.)       After reviewing the renewed
15   applications to seal, the Court provisionally granted
16   the majority of the parties’ proposed redactions.
17   (Doc. No. 263.)       In its sealing order, the Court noted
18   that its rulings were provisional because it “may
19   reconsider its decision to seal in its ruling on
20   summary judgment” in order to preserve the public’s
21   right to know the basis for the Court’s decision on
22   the merits of the action.          (Id. at 6, 9.)        Because
23   none of the sealed documents were necessary to the
24   Court’s decision herein, the Court confirms its
25   decision to seal the parties proposed redactions and
26   removes their provisional status.             The documents
27   remain sealed.
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 Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 8 of 52 Page ID
                                 #:16290


 1        The Court has reviewed and considered all
 2   publicly filed and sealed documents submitted in
 3   support of and in opposition to the motions.3                 UPS
 4   moves for summary judgment on all claims AFMS brings
 5   against it.      (“UMSJ,” Doc. No. 246.)          In support of
 6   its motion, UPS filed the following documents:
 7             Statement of Uncontroverted Facts and
 8              Conclusions of Law (“USUF,” Doc. No. 247);
 9             Declaration of Sean P. Gates (“Gates Decl.,”
10              Doc. No. 246-1), attaching 148 exhibits,
11              (Doc. Nos. 246-2 to -9, 251);4
12             Declaration of Donald Faby (“Faby Decl.,”
13              Doc. No. 246-10), attaching twenty exhibits,
14              (Doc. No. 246-11);
15
16
17
          3Because the sealed versions are not available to
18   the public and do not include any material necessary
19   to this Order, the Court cites to the publicly filed
     versions of the summary judgment filings. However, in
20   deciding the motions, the Court has considered all
     evidence manually filed and submitted under seal.
21       Because the Court denied the parties’ initial
     applications to seal and denied in part the parties’
22   renewed applications to seal, the parties amended and
23   refiled their summary judgment documents several times
     in an effort to limit the number of redactions from
24   the public record. For simplicity and ease of
     location, the Court cites to the most recent version
25   of each document in this Order.
         4 Due to the volume of evidence filed in support
26
     of and in opposition to the motions, the Court does
27   not enumerate each attached exhibit, but describes the
     documents in subsequent evidentiary citations as
28   needed.
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 Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 9 of 52 Page ID
                                 #:16291


 1             Declaration of Kathleen Gutmann (“Gutmann
 2              Decl.,” Doc. No. 246-12), attaching twenty-
 3              two exhibits, (Doc. No. 246-13 to -14);
 4             Declaration of Robert Harris (“Harris Decl.,”
 5              Doc. Nos. 246-15), attaching one exhibit,
 6              (Doc. No. 246-16);
 7             Declaration of Joseph Kalt (“Kalt Decl.,”
 8              Doc. No. 246-17), attaching one exhibit,
 9              (Doc. No. 246-18);
10             Declaration of Clifford Kupperberg
11              (“Kupperberg Decl.,” Doc. No. 246-19),
12              attaching one exhibit, (Doc. No. 246-20); and
13             Declaration of Darrell Williams (“Williams
14              Decl.,” Doc. No. 246-21), attaching one
15              exhibit, (Doc. No. 246-22).
16
17        FedEx separately moved for summary judgment,
18   asserting its own arguments for dismissal and joining
19   those made by UPS.        (“FMSJ,” Doc. No. 229.)          FedEx
20   attached a Statement of Uncontroverted Facts and
21   Conclusions of Law, (“FSUF,” Doc. No. 230), and an
22   Appendix of Exhibits, (“App.,” Doc. Nos. 233-234, 236-
23   239, 241), which includes seventy-four exhibits.5
24
          5Several of the exhibits in FedEx’s Appendix
25   include numerous, numbered subexhibits. For example,
26   attached to Exhibit 24, the Declaration of Michelle
     Burtis, are five numbered subexhibits. The Court cites
27   to the subexhibits either by subexhibit number, for
     example (App., Exh. 24, Subexh. 3), or by page number,
28   as in (App., Exh. 24 at 24-72).
                                            9
Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 10 of 52 Page ID
                                 #:16292


 1       AFMS filed an omnibus opposition to Defendants’
 2   motions.     (Opp’n, Doc. No. 218.)         AFMS’s Statement of
 3   Genuine Disputes of Material Fact responds to the
 4   facts propounded in the USUF, (“AUSGI,” Doc. No. 231
 5   at 1-99), and in the FSUF, (“AFSGI,” Doc. No. 231 at
 6   108-207), and also sets forth its own undisputed
 7   material facts, (“ASUF,” Doc. No. 231 at 220-261).                  In
 8   support of the Opposition, AFMS includes ninety-nine
 9   exhibits as attachments to the Declaration of Alyson
10   C. Decker.     (“Decker Decl.,” Doc. Nos. 219-227, 232.)6
11       Defendants filed separate replies.               UPS filed the
12   following documents with its Reply, (“UPS Reply,” Doc.
13   No. 248):
14            Reply to the AUSGI, (“Reply AUSGI,” Doc. No.
15              249 at 4-142);
16            Statement of Genuine Disputes of Material
17              Fact, (“USGI,” Doc. No. 249 at 143-243),
18              responding to AFMS’s undisputed facts;
19            Objections to and Requests to Strike Evidence
20              Offered in Opposition, (“UPS Obj.,” Doc. No.
21              250); and
22            Reply Declaration of Sean P. Gates, (“Reply
23              Gates Decl.,” Doc. No. 248-1), attaching
24              Exhibits 149 to 187, (Doc. Nos. 248-2 to -3).
25
26
         6 Just as with FedEx’s Appendix, the Decker
27
     Declaration includes numerous subexhibits, which are
28   cited either by subexhibit number or page number.
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 11 of 52 Page ID
                                 #:16293


 1       FedEx replied, (“FedEx Reply,” Doc. No. 242),
 2   attaching the following documents:
 3            Reply to the AFSGI, (“Reply AFSGI,” Doc. No.
 4             245 at 4-78);
 5            Statement of Genuine Disputes of Material
 6             Fact, (“FSGI,” Doc. No. 245 at 79-187),
 7             responding to AFMS’s undisputed facts;
 8            Evidentiary Objections to AFMS’s Evidence,
 9             (“FedEx Obj.,” Doc. No. 244); and
10            Supplemental Appendix, (“Supp. App.,” Doc.
11             No. 243), including thirty additional
12             exhibits, (Doc. Nos. 243-1 to -30).
13
14       Because UPS and FedEx incorporate the arguments
15   made in the other’s motion, (UMSJ at 38 n.45; FMSJ at
16   1), the Court addresses Defendants’ motions together.
17
18                          II. LEGAL STANDARD7
19
20       Rule 56(c) requires summary judgment for the moving
21   party when the evidence, viewed in the light most
22   favorable to the nonmoving party, shows that there is
23   no genuine issue as to any material fact, and that the
24   moving party is entitled to judgment as a matter of
25
26
27       7 Unless otherwise noted, all references to “Rule”
28   refer to the Federal Rules of Civil Procedure.
                                           11
Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 12 of 52 Page ID
                                 #:16294


 1   law.     See Fed. R. Civ. P. 56(c); Tarin v. Cnty. of Los
 2   Angeles, 123 F.3d 1259, 1263 (9th Cir. 1997).
 3          The moving party bears the initial burden of
 4   establishing the absence of a genuine issue of material
 5   fact.     See Celotex Corp. v. Catrett, 477 U.S. 317, 323–
 6   24 (1986).     The moving party may satisfy its Rule 56(c)
 7   burden by “‘showing’—that is, pointing out to the
 8   district court—that there is an absence of evidence to
 9   support the nonmoving party's case.”              Celotex, 477 U.S.
10   at 325.     Once the moving party has met its initial
11   burden, Rule 56(e) requires the nonmoving party to go
12   beyond the pleadings and identify specific facts that
13   show a genuine issue for trial.            See id. at 323–24;
14   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
15   (1986).     A scintilla of evidence or evidence that is
16   merely colorable or not significantly probative does
17   not present a genuine issue of material fact.                 Addisu
18   v. Fred Meyer, Inc., 198 F.3d 1130, 1134 (9th Cir.
19   2000).     Only genuine disputes over facts that might
20   affect the outcome of the suit under the governing law,
21   i.e., “where the evidence is such that a reasonable
22   jury could return a verdict for the nonmoving party,”
23   will properly preclude the entry of summary judgment.
24   See Anderson, 477 U.S. at 248.
25          Under Local Rules 56–2 and 56–3, these triable
26   issues of fact must be identified in the non-moving
27   party's “Statement of Genuine Issues” and supported by
28
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 13 of 52 Page ID
                                 #:16295


 1   “declaration or other written evidence.”               See
 2   also Sullivan v. Dollar Tree Stores, Inc., 623 F.3d
 3   770, 779 (9th Cir. 2010) (“Federal Rule of Civil
 4   Procedure 56(e)(2) requires a party to “set out
 5   specific facts showing a genuine issue for trial.”).
 6   If the non-moving party fails to identify the triable
 7   issues of fact, the court may treat the moving party's
 8   evidence as uncontroverted, so long as the facts are
 9   “adequately supported” by the moving party.                  L.R. 56–
10   3; see also Int’l Longshoremen's Ass'n, AFL–CIO v.
11   Davis, 476 U.S. 380, 398 n.14 (1986) (“[I]t is not [the
12   Court's] task sua sponte to search the record for
13   evidence to support the [parties'] claim[s].”).
14   Neither will the Court sua sponte raise legal arguments
15   which were not raised in the parties’ summary judgment
16   briefs.    See Cambridge Elecs. Corp. v. MGA Elecs.,
17   Inc., 227 F.R.D. 313, 336 (C.D. Cal. 2004) (“There is
18   no burden upon the district court to distill every
19   potential argument that could be made based upon the
20   materials before it on summary judgment. Rather, the
21   onus is upon the Parties to formulate arguments;
22   grounds alleged in the complaint but not relied upon in
23   summary judgment are deemed abandoned.”) (quoting
24   Resolution Trust Corp. v. Dunmar Corp., 43 F.3d 587,
25   599 (11th Cir. 1995)); see also Samica Enters. LLC v.
26   Mail Boxes Etc., Inc., 460 F. App'x 664, 666 (9th Cir.
27
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 14 of 52 Page ID
                                 #:16296


 1   2011) (“Arguments not raised in opposition to summary
 2   judgment . . . are waived.”).
 3
 4                                 III. FACTS
 5
 6     A. Evidentiary Issues
 7
 8       The Court has already remarked upon the volume of
 9   evidence submitted in conjunction with these motions.
10   Given the breadth of the record, a well-organized
11   record with clear and specific citations is paramount.8
12   The Court’s Standing Order directs parties to “cite to
13   specific page and line numbers” when offering evidence
14   to support or oppose summary judgment.              (“Standing
15   Order” at 5, Doc. No. 127.)          The Order also warns that,
16   “If either party fails to provide a pincite to the
17   supporting evidence, the Court will deem the proffered
18   fact (or dispute) unsupported.”            (Id. at 8.)
19       Despite these clear instructions, the evidence
20   cited in AFMS’s Statements of Genuine Disputes (AUSGI;
21   AFSGI) and Statement of Undisputed Facts (ASUF)
22   consists of unwieldy string cites omitting crucial
23   information necessary to locate the purported evidence.
24
         8 AFMS submitted nine volumes of evidence in
25   support of its omnibus opposition, consisting of 3,831
26   pages of exhibits. These figures undervalue the
     enormity of the record because AFMS prints four pages
27   of a deposition transcript on each 8 1/2 by 11 sheet,
     in violation of Local Rules 11-3.1.1 and 11-3.2.
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 15 of 52 Page ID
                                 #:16297


 1   For example, instead of separately tabbing each
 2   exhibit, as required by page 5 of the Standing Order,
 3   AFMS includes entire deposition transcripts as well as
 4   all deposition exhibits within a single exhibit tab.9
 5   (See, e.g., Decker Decl., Exh. 45 (including the
 6   Deposition of Mike Moriarty and twenty-nine non-
 7   consecutively numbered subexhibits used at the
 8   deposition).)      Further compounding the disorder, the
 9   AUSGI, AFSGI, and ASUF cite to whole subexhibits
10   without page numbers or pincites.             (See, e.g., ASUF
11   ¶¶ 2, 3, 6, 8.)      Insofar as it is able, the Court
12   relies on the exhibits and subexhibits cited by AFMS.
13   However, where AFMS provides no pincite, the Court
14   deems the proffered fact or dispute unsupported.
15   See Orr v. Bank of Am., NT & SA, 285 F.3d 764, 774-75
16   (9th Cir. 2002) (“Orr's Statement of Undisputed Facts
17   fails to cite the page and line numbers when referring
18   to the deposition contained in Exhibit D.               [footnote
19   omitted]    This defect alone warrants exclusion of the
20   evidence.”).     (Standing Order at 8.)
21       FedEx objects to numerous subexhibits offered by
22   AFMS due to lack of authentication.             (See FedEx Obj.
23   ¶¶ 8, 15, 31, 34, 42, 44, 47, 62.)             These objections
24
         9 The Court notes that FedEx similarly did not
25   separately tab each subexhibit. However, all
26   subexhibits were consecutively numbered or lettered in
     accordance with the authenticating declaration and
27   included a footer on each page indicating its tab
     number or letter. Thus, the Court was able to easily
28   locate subexhibits in FedEx’s filings.
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 16 of 52 Page ID
                                 #:16298


 1   pertain to exhibits attached to deposition transcripts
 2   offered in support of the Opposition.              In many
 3   instances, the deposition testimony authenticates the
 4   exhibit because it provides testimony from a person
 5   with knowledge that the document is what AFMS claims it
 6   to be.   (See, e.g., Decker Decl., Exh. 42 14:1-15
 7   (testimony from deponent sufficient to authenticate
 8   Subexhibit 2198).)       Moreover, most of the objected-to
 9   exhibits were produced by Defendants in discovery and
10   are deemed authentic when offered by AFMS.                See Orr,
11   285 F.3d at 777 n.20; Maljack Prods., Inc. v. GoodTimes
12   Home Video Corp., 81 F.3d 881, 889 n.12 (9th Cir. 1996)
13   (documents produced by a party in discovery were deemed
14   authentic when offered by the party-opponent).                 Thus,
15   the Court OVERRULES FedEx’s authentication objections.
16       Defendants also submit several hearsay objections
17   to AFMS’s evidence.        First, UPS and FedEx object to
18   several articles from online and print industry
19   journals and publications as hearsay.              (FedEx Obj.
20   ¶¶ 42, 46; UPS Obj. ¶¶ 9, 12, 42-43, 46 (objecting to
21   Decker Decl., Exhs. 78, 82-83, 85-89).)               “It is
22   axiomatic to state that newspaper articles are by their
23   very nature hearsay evidence and are thus inadmissible
24   if offered to prove the truth of the matter
25   asserted[.]”     In re Dual-Deck Video Cassette Recorder
26   Antitrust Litig., No. MDL 765, 1990 WL 126500, at *3
27   (D. Ariz. July 25, 1990); see also Larez v. City of Los
28
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 17 of 52 Page ID
                                 #:16299


 1   Angeles, 946 F.2d 630, 642 (9th Cir. 1991); Sacramento
 2   Cnty. Retired Employees Ass'n v. Cnty. of Sacramento,
 3   975 F. Supp. 2d 1150, 1154 (E.D. Cal. 2013).                Here,
 4   Plaintiff offers these articles and surveys to prove
 5   the content contained therein, namely, that Defendants
 6   raised their prices and increased their revenues.
 7   Accordingly, the exhibits constitute hearsay, and the
 8   Court SUSTAINS the objections and will not consider
 9   them as evidence when deciding this Motion.10
10   See Vannatta v. Keisling, 899 F. Supp. 488, 491 (D. Or.
11   1995) aff'd, 151 F.3d 1215 (9th Cir. 1998) (striking
12   newspaper articles as inadmissible hearsay and refusing
13   to consider them on a motion for summary judgment where
14   “[t]he articles discuss the amounts and effects of
15   special interest contributions, and were offered by
16   Defendants to show that out-of-district donors in fact
17   pose a real threat to the campaign system.”).
18       FedEx makes a hearsay objection to five exhibits,
19   all of which contain the same email between several
20   FedEx employees concerning a conference call involving
21   several FedEx vice presidents.             (FedEx Obj. ¶ 34;
22
23       10 However, the Court finds that several portions of
24   the surveys (Decker Decl., Exhs. 86-88) are admissible
     under the hearsay exceptions in Federal Rules of
25   Evidence 803(1), 803(3) and 807. See Potts v. Zettel,
26   220 F. App'x 559, 561 (9th Cir. 2007); Schering Corp.
     v. Pfizer, Inc., 189 F.3d 218, 225-238 (2d Cir. 1999)
27   (Sotomayor, J.). Notably, all parties rely on the
     undisputed survey results. (See ASUF ¶ 9; USGI ¶ 9;
28   FSGI ¶ 9.)
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 18 of 52 Page ID
                                 #:16300


 1   Decker Decl., Exh. 39, Subexh. 2030; Exh. 41, Subexh.
 2   2138; Exh. 42, Subexh. 2218; Exh. 45, Subexh. 2177;
 3   Exh. 46, Subexh. 2277.)         The email is admissible as a
 4   statement of a party opponent under Federal Rule of
 5   Evidence 801(d)(2).        Moreover, at the summary judgment
 6   stage, the Court does "not focus on the admissibility
 7   of the evidence's form," but rather on the
 8   admissibility of its contents.             See Fraser v. Goodale,
 9   342 F.3d 1032, 1036 (9th Cir. 2003).              Because the email
10   could be presented in an admissible form at trial, the
11   Court may consider it in deciding the summary judgment
12   motions.    Id. at 1037.       The Court OVERRULES FedEx’s
13   objections to Subexhibits 2030, 2138, 2218, 2177, and
14   2277.
15       Finally, UPS argues that the Court should disregard
16   a Reply Expert Report of Robert Wunderlich offered by
17   AFMS.   (UPS Obj. ¶ 67; Decker Decl., Exh. 59.)                The
18   Report is attached to the declaration of counsel, and,
19   although it is signed, it is not sworn under penalty of
20   perjury to be true and correct.             “[It] is well
21   established, that an unsworn expert report is
22   inadmissible” under Rule 56(e) to support or oppose
23   summary judgment.       Shuffle Master, Inc. v. MP Games
24   LLC, 553 F. Supp. 2d 1202, 1210 (D. Nev. 2008) (citing
25   cases); see Harris v. Extendicare Homes, Inc., 829 F.
26   Supp. 2d 1023, 1027 (W.D. Wash. 2011) (striking expert
27   reports because they were attached to a declaration of
28
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 19 of 52 Page ID
                                 #:16301


 1   counsel, who “is not competent to testify about the
 2   matters therein,” and were unsworn).              The Court
 3   therefore SUSTAINS UPS’s objections to the Wunderlich
 4   Reply Report and does not consider it on summary
 5   judgment.
 6       The Court previously ruled that all testimony and
 7   reports of experts Campbell and Brotman are excluded
 8   from the Court’s consideration of the summary judgment
 9   motions.    (See MiL Order.)        Therefore, the parties’
10   objections to this evidence are SUSTAINED.
11       The Court addresses any remaining evidentiary
12   objections in footnotes, as needed.
13
14     B. Disputed and Undisputed Facts
15
16       Contrary to the responses offered in the SGIs,
17   after inspection of the cited evidence, the majority of
18   material facts are undisputed.             Rather than offering
19   conflicting evidence, the parties merely dispute the
20   characterization of the facts as presented in the SUFs
21   and SGIs.    In deciding the motions for summary
22   judgment, the Court examines the underlying evidence,
23   not the summary statements or, in Plaintiff’s case,
24   compound paragraphs11 offered in the parties’ statements
25
         11 In violation of Paragraph 11(a) of the Court’s
26
     Standing Order, a majority of the “facts” offered in
27   Plaintiff’s ASUF are compound and include numerous
     factual statements, making it nearly impossible for the
28
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 20 of 52 Page ID
                                 #:16302


 1   of undisputed facts.        See Dalton v. Straumann Co. USA
 2   Inc., No. C-99-4579 VRW, 2001 WL 590038, at *4 (N.D.
 3   Cal. May 18, 2001) (“Statements of undisputed facts, as
 4   in this case, are generally unhelpful.              It is on the
 5   underlying declarations, depositions and exhibits that
 6   the court will rely.”).
 7       Unless specifically noted, the following material
 8   facts are sufficiently supported by admissible evidence
 9   and are uncontroverted; they are “admitted to exist
10   without controversy” for purposes of the motions.                  L.R.
11   56-3.   All disputed facts are explicitly noted.
12
13           1. Defendants
14
15       Defendants UPS and FedEx are in the business of
16   transporting and delivering packages.              The parties
17   refer to Defendants as “carriers” and their customers
18   as “shippers.”      Defendants enter into complex term
19   contracts with shippers.         They charge shippers for
20   their services, including any tailored supply chain
21   services, via structured package delivery rates and
22   other accessorial charges.
23       Defendants sell their services to customers through
24   thousands of sales employees.              The sales staff may
25   attract new customers by responding to a Request for
26   Proposals (“RFP”) or approaching the shipper directly.
27
     Court to locate Plaintiff’s supporting evidence.                  (See,
28   e.g., ASUF ¶¶ 1, 3, 8-9.)
                                           20
Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 21 of 52 Page ID
                                 #:16303


 1   The sales staff will also work with existing customers
 2   to retain the business when the shipper’s contract
 3   expires or terminates.         First, the sales staff gathers
 4   and analyzes data from the shipper or the carrier’s
 5   internal records regarding their shipping history,
 6   including, for example, the volume of packages, types
 7   of products, destinations, timeliness of delivery, and
 8   dimensional weights.        Next, they provide shippers with
 9   information regarding their carrier’s delivery services
10   and prices and offer the customer carrier-specific
11   solutions and products to meet the customer’s needs.
12   Before signing a contract with a shipper, the carrier
13   may negotiate price discounts on a customer-by-customer
14   basis, based on the shipper’s volume, types of
15   packages, and market conditions.            Once finalized, the
16   carrier presents the contract to the shipper,
17   explaining the services, rates, prices, and discounts.
18   In its presentation to the customer, the carrier
19   occasionally compares its rates and services to those
20   of competing carriers, but only if the shipper provides
21   the sales representative with the competitor’s offer.
22       In their communications and negotiations with
23   customers, FedEx and UPS do not recommend that shippers
24   use the services of another carrier for their shipping
25   needs.12   (FSUF ¶ 119; AFSGI ¶ 119.)
26
27       12 The only identified exception is that, when the
     carrier does not offer a specific service requested or
28
                                           21
Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 22 of 52 Page ID
                                 #:16304


 1       In conjunction with their package delivery
 2   services, Defendants provide shippers with supply chain
 3   services to help customers increase efficiency and
 4   profitability.      These services, which are tailed to the
 5   shipper’s needs, can include flexible pick up times,
 6   technology integration, electronic billing, customized
 7   reports, network optimization, and parcel insurance.
 8   Defendants do not charge separately for these services;
 9   instead, the cost is included in the shipper’s package
10   delivery rates.      Defendants prefer to work directly
11   with their shipping customers in order to better
12   understand their supply chain needs and develop
13   customized solutions.
14
15          2. Plaintiff
16
17       Plaintiff is a third-party consultant (“TPC”)13 who
18   advises shippers regarding their delivery needs and
19   represents shippers in negotiating competitive small
20   parcel and freight contracts.              (TAC ¶ 3; USUF ¶ 1;
21   AUSGI ¶ 1.)     Most of AFMS’s employees are former
22   employees of carriers, including Defendants and DHL.
23   Although AFMS provides other services to shippers,
24   approximately ninety-five percent of its revenue comes
25
26   needed by the shipper, the carrier may suggest another
     entity to provide that service.
         13 Defendants also refer to Plaintiff as a third-
27
     party negotiator, shortened to “TPN” or ”3PN”, or as a
28   transportation consultant.
                                           22
Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 23 of 52 Page ID
                                 #:16305


 1   from its price negotiation services for shippers trying
 2   to lower their shipping costs.
 3       In the first step of its parcel contract
 4   optimization services, AFMS gathers the customer’s
 5   historical shipping data, including invoices, parcel
 6   dimensions, weights and destinations, prior agreements
 7   with shippers, and rate charts.            Next, AFMS analyzes
 8   this data to identify opportunities for savings.                  AFMS
 9   creates a shipper profile breaking down the shipment
10   characteristics and associated charges and presents the
11   customer with a distribution and opportunity analysis.
12   The analysis primarily highlights savings in the form
13   of potential rate discounts the shipper may be able to
14   achieve through negotiations with carriers, also known
15   as “targets.”      In addition to identifying targeted
16   discounts from FedEx and UPS, AFMS also determines if
17   the shipper could save money by using alternate
18   carriers, such as the Unites States Postal Service
19   (“USPS”), specialized carriers, or regional carriers.
20   AFMS may also make recommendations to the shipper
21   regarding parcel insurance, customs procedures and
22   compliance, tariff payments, site location, which
23   involves identifying the prime warehouse from which to
24   ship goods, mode optimization, for example,
25   transitioning from express to ground shipments,
26   regulations covering the shipping of hazardous
27   materials, and selecting packaging for products.
28
                                           23
Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 24 of 52 Page ID
                                 #:16306


 1       AFMS then develops a negotiation strategy based on
 2   its analysis and identified targets.              At this point,
 3   AFMS may act as the shipper’s representative in
 4   negotiations with the carrier, or it may provide advice
 5   and analysis behind the scenes.            In conjunction with
 6   the shipper, AFMS may create an RFP, inviting the
 7   carriers to bid on the shipper’s business.14               The RFP
 8   package includes the target incentives sought via the
 9   RFP process, which a carrier should meet to stay
10   competitive in the process.          AFMS sets a timeline for
11   the carrier’s bids and the negotiation process.                 AFMS
12   and/or the shipper may meet with the carrier to present
13   the RFP and negotiate discounts and rates.                The
14   carriers then submit bids for the customer’s shipping
15   business.
16       Subsequently, AFMS analyzes the proposals submitted
17   by the carriers and provides the shipper with a
18   comparison of the rates, incentives, products, and
19   service-levels offered by the carriers and a
20   juxtaposition of the proposals with the customer’s
21   existing carrier contract.          Further rounds of
22   negotiations and bidding are held, as necessary.                  The
23   shipper selects its preferred carrier and signs a new
24   carrier contract.
25       Once the final agreement is in place, AFMS assists
26   with implementation by verifying that invoices reflect
27
         14 In select circumstances, a shipper may not issue
28   an RFP and instead may negotiate with only one carrier.
                                           24
Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 25 of 52 Page ID
                                 #:16307


 1   the new contract rates and that the shipper is meeting
 2   volume requirements, by monitoring carrier pricing
 3   trends and new service offerings, and by annually
 4   measuring the savings realized from the new contract.
 5       Shippers generally compensate AFMS for its contract
 6   optimization services via a gain share arrangement,
 7   whereby the customer pays AFMS a percentage of the
 8   package delivery rate savings achieved by negotiating a
 9   new carrier contract.        In the majority of its
10   agreements, AFMS’s fee is forty to fifty percent of the
11   savings achieved for the shipper for a term of three
12   years.   Occasionally, AFMS enters into a fixed fee
13   arrangement for its contract optimization services or
14   portions thereof.
15       AFMS also offers shippers other post-contract
16   services.    For example, R.A.D.A.R., AFMS’s proprietary
17   software, provides auditing tools which monitor
18   contract compliance and track shipments to compare
19   actual delivery time with the carrier’s guaranteed
20   delivery time.      The technology also assists shippers
21   with recovering and obtaining refunds for lost,
22   delayed, or nonexistent packages.             AFMS also can assist
23   the shipper with running various reports to monitor
24   shipping costs and develop cost avoidance strategies.
25   Shippers generally pay AFMS for post-agreement audit,
26   contract compliance, and reporting services at a flat
27   rate outside of the agreement for contract optimization
28
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 26 of 52 Page ID
                                 #:16308


 1   services.    These services represent a small share of
 2   AFMS’s revenues.
 3
 4          3. Third Party Consultants
 5
 6       Third Party Consultants include numerous entities
 7   which provide consulting services to shippers to assist
 8   them with their delivery needs.            Like AFMS, these
 9   entities provide various services to shippers,
10   including carrier contract negotiation, bill auditing,
11   mode optimization, warehouse advice, and parcel
12   insurance.     Other TPCs provide advice regarding
13   additional delivery issues such as inventory
14   management, technology integration, tariff and customs
15   issues, product returns, hazardous materials,
16   packaging, and obtaining service refunds when carriers
17   deliver packages late.         TPCs mix and match these
18   consulting services depending on a shipper’s needs.
19       From 2006 to 2008, eleven percent of surveyed
20   shippers reported that they used TPCs to negotiate
21   rates with their parcel carrier.            The same survey
22   conducted in October 2011 reports that twelve percent
23   of shippers used TPCs to assist with carrier
24   negotiations, while eighty-five percent approached
25   carriers on their own.
26       Shippers that do not use TPCs to negotiate their
27   shipping contracts rely on in-house personnel and
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 27 of 52 Page ID
                                 #:16309


 1   resources to engage in negotiations with carriers.
 2   Plaintiff does not provide any evidence to dispute this
 3   fact, but argues that in-house negotiators are “not
 4   adequate substitutes” for TPCs.              (See AFSGI ¶ 127.)
 5
 6          4. TPC Policy
 7
 8       In general, the parties agree that Defendants
 9   changed their policies with regard to interacting with
10   select TPCs in 2009 and 2010.              As is usually the case
11   in antitrust cases, there is a fundamental disagreement
12   as to whether the TPC Policy was adopted jointly or
13   independently, but the Court need not reach these facts
14   to dispose of the present motions.              There is also
15   substantial dispute regarding the timeline of enactment
16   of Defendants’ policy changes regarding TPCs.                 These
17   disputes are similarly immaterial to the outcome of
18   these motions and are not discussed.
19       For about seventeen years prior to 2009, Defendants
20   generally permitted TPCs to participate directly in the
21   negotiation of shipper contracts and to have access to
22   shipper parcel data and carrier contracts.                Between
23   2009 and 2010, Defendants reconsidered their
24   relationship with TPCs who assist with negotiations and
25   took steps to refuse to deal with these entities.
26       The minutes of a FedEx VP conference call on
27   December 20, 2009, indicate that there was a “decision
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 28 of 52 Page ID
                                 #:16310


 1   . . . for all of Sales to adopt the . . . hard line on
 2   not engaging with third party consultants negotiating
 3   [RFPs] for customers.        Each VP will be responsible for
 4   exceptions in their region.”           (“Dec. 20, 2009, Mins.,”
 5   Decker Decl., Exh. 45, Subexh. 2177.)              A FedEx document
 6   entitled “Third Party Consultant Rules of Engagement
 7   for Field Sales,” dated April 23, 2010, makes clear
 8   that in all three sales divisions the new TPC approach
 9   applied only to third parties that “focus strictly on
10   rate negotiations”; in other words, entities which help
11   shippers negotiate the pricing contained in their
12   contracts with FedEx.        (“Field Sales ROE,” App., Exh.
13   26, Subexh. E at 7.)        Excluded from the TPC policy were
14   third party firms providing shippers with supply chain
15   services, including warehouse and distribution
16   improvements, fulfillment services, inventory and order
17   management, and transportation management.                (Id. at 8.)
18   Also excluded were third parties that performed invoice
19   auditing services, mode or network optimization
20   services, advice on customs and international
21   shipments, and contract negotiation services for
22   freight, truckload, and ocean transport shipments.
23   (Decker Decl., Exh. 40 at 210:11 to 211:15.)                As to
24   TPCs engaged solely in price negotiation, VPs had the
25   “ability to exercise limited exceptions” to the TPC
26   policy.    (Field Sales ROE at 4.)          VPs in each division
27   addressed exceptions individually.             (FSUF ¶ 166.)
28
                                           28
Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 29 of 52 Page ID
                                 #:16311


 1       UPS sent an email to “Managers” on September 17,
 2   2009, which “introduced some new contractual terms and
 3   conditions . . . on a case by case basis” to “avoid
 4   improper Third Party interference with our customer
 5   relationships.”      (Faby Decl., Exh. 4 at 1.)            The
 6   changes included (1) issuing a thirty-day cancellation
 7   notice once UPS is notified of a shipper’s “intent to
 8   authorize a Third party to act on behalf of the
 9   customer in the negotiations of their existing UPS
10   agreement” and (2) including language in new contracts
11   negotiated by a third party that allows UPS to assess a
12   fee in the event a shipper terminated the agreement
13   early or fails to meet minimum volume or revenue
14   requirements.      (Id.)    UPS provided updated procedures
15   to its sales force in an April 23, 2010, newsletter.
16   (Gutmann Decl., Exh. 22.)          If a sales representative
17   has a customer that is “going to use a [Third Party
18   Negotiator] in any capacity,” the representative “MUST
19   notify” the Strategy Room “to discuss next steps before
20   taking any other action with the customer related to
21   the [Third Party Negotiator].”             (Decker Decl., Exh. 24,
22   Subexh. 2573; Gutmann Decl. ¶ 46.)             The Strategy Room
23   decides how to proceed with the customer on a case-by-
24   case basis, but UPS “generally say[s] ‘NO’ to [Third
25   Party Negotiators] unless there is an unusual
26   circumstance.”      (Decker Decl., Exh. 24, Subexh. 2576 at
27   1376.)   In most cases, the Strategy Room advised the
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 30 of 52 Page ID
                                 #:16312


 1   sales representative to not engage in negotiations with
 2   anyone other than the customer.            (Decker Decl., Exh.
 3   24, Subexh. 2596 at 1392; cf. Kalt Decl., Exh. 1 ¶ 136
 4   (stating that UPS proceeded with the negotiator
 5   involved with the customer in between six and thirty-
 6   eight percent of interactions from April 2010 to April
 7   2012).)    Other options offered by the Strategy Room
 8   included presenting the shipper who has engaged a
 9   negotiator with a nonnegotiable proposal to do
10   business, known as a “last-best-and-final offer.”
11   (USUF ¶ 54; AUSGI ¶ 54.)
12       Prior to the TPC Policy, Defendants used 2-way or
13   3-way nondisclosure agreements (“NDA”) with shippers.
14   The former is a contract between the shipper and
15   carrier in which the parties agree not to share pricing
16   information or contract terms with third parties.                  The
17   latter, 3-way NDA permits a third-party to access
18   pricing and contract information and binds the third-
19   party to the confidentiality terms.
20       As part of the TPC Policy, FedEx implemented a more
21   robust 3-way NDA for use with all TPCs, which included
22   a $100,000 liquidated damages provision and gave FedEx
23   the right to audit the third-party’s use of the data.
24   (AFSGI ¶¶ 48, 64; Declaration of Jimmy Russell
25   Phillips, Jr. ¶¶ 11-12, App., Ex. 43.)              UPS also
26   modified its NDA policy.         At times, the Strategy Room
27   required a shipper to sign a strict 2-way NDA, which
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 31 of 52 Page ID
                                 #:16313


 1   “require[d] that the information shared between UPS and
 2   [the shipper] is treated as confidential and may not be
 3   shared outside of our two companies.”              (Decker Decl.,
 4   Exh. 22, Subexh. 2634 at 1149; USUF ¶ 52.)                Another
 5   form of the 2-way NDA utilized by UPS had a limited
 6   exception which permitted TPCs to use UPS’s
 7   confidential information to conduct contract analytics
 8   or bill auditing, but not to engage in negotiations.
 9   (USUF ¶ 53; AUSGI ¶ 53.)         UPS also permitted 3-way NDAs
10   in some circumstances, which allowed negotiators to
11   access confidential pricing information.               (USUF ¶ 55;
12   USGI ¶ 55.)
13       Defendants offered several reasons for modifying
14   their policies toward TPCs.          Due to the recession,
15   Defendants noted an increase in the number of TPCs and
16   the number of shippers engaging TPCs in 2008 and 2009.
17   During the same period, Defendants noticed that TPCs
18   increasingly encouraged shippers to renegotiate their
19   carrier contracts before the end of the contract term,
20   costing Defendants money and time to renegotiate and
21   undermining their ability to recover the cost of their
22   services.     Both Defendants state that TPCs interfered
23   with their ability to provide specialized supply chain,
24   also known as “value-added,” services to shippers.
25   (USUF ¶¶ 25-27; FSUF ¶ 30.)          Numerous witnesses
26   testified that TPCs obstructed Defendants’
27   relationships with their customers and prevented them
28
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 32 of 52 Page ID
                                 #:16314


 1   from working directly with the shippers, insisting that
 2   all communications go through the TPC.              Defendants also
 3   sought to prevent TPCs from violating shipper NDAs by
 4   engaging in “benchmarking,”15 a practice whereby a TPC
 5   uses confidential shipping rate information from one
 6   shipper to assess and negotiate the rates of another.
 7   (AUSUF ¶¶ 29-30; FSUF ¶ 37.)           FedEx was uniquely
 8   concerned that the TPCs had a bias in favor of UPS and
 9   frequently lost or failed to gain new business when the
10   RFP process was run by a TPC.
11       Plaintiff contends that Defendants’ modified
12   approach toward TPCs, which was allegedly created after
13   DHL departed from the market in 2009, was implemented
14   in order to strengthen their purported duopoly in the
15   delivery services market and to increase their revenues
16   by forcing TPCs out of the market.             (ASUF ¶ 43; AUSGI
17   ¶ 36.)
18
19
20
21
22
23
24
25
26
         15 It is undisputed that some TPCs engaged in
27
     benchmarking and improperly used confidential shipping
28   rates. (AUSGI ¶ 29.)
                                           32
Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 33 of 52 Page ID
                                 #:16315


 1                             IV. DISCUSSION
 2
 3       Plaintiff cannot survive summary judgment because
 4   it fails to provide any evidence of the existence and
 5   boundaries of a legally cognizable relevant market for
 6   “shipping consultation services.”             (Opp’n at 3.)
 7   Because Plaintiff has not presented evidence to support
 8   crucial elements of its case, the Court finds summary
 9   judgment is proper.
10
11     1. Relevant Market
12
13       The “validity of the ‘relevant market’” is “subject
14   to factual testing by summary judgment or trial.”
15   Newcal Indus., Inc. v. Ikon Office Solution, 513 F.3d
16   1038, 1045 (9th Cir. 2008).          In a Section 1 claim,
17   “[t]he plaintiff bears the initial burden of showing
18   that the restraint produces ‘significant
19   anticompetitive effects’ within a ‘relevant market.’”
20   Tanaka v. Univ. of S. Cal., 252 F.3d 1059, 1063 (9th
21   Cir. 2001) (“Failure to identify a relevant market is a
22   proper ground for dismissing a Sherman Act claim.”)
23   (citing Big Bear Lodging Ass'n v. Snow Summit, Inc.,
24   182 F.3d 1096, 1105 (9th Cir. 1999)).              The existence of
25   a relevant market is crucial to ensure that Plaintiff
26   possesses antitrust standing and an essential element
27   of each of Plaintiff’s causes of action.
28
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 34 of 52 Page ID
                                 #:16316


 1   See Associated Gen. Contractors of Cal., Inc. v. Cal.
 2   State Council of Carpenters, 459 U.S. 519, 538 (1983)
 3   (emphasizing, for purposes of antitrust standing, the
 4   “central interest in protecting the economic freedom of
 5   participants in the relevant market”); Bhan v. NME
 6   Hosps., Inc., 929 F.2d 1404, 1413 (9th Cir. 1991) (“To
 7   meet his initial burden in establishing that the
 8   practice is an unreasonable restraint of trade,
 9   plaintiff must . . . delineate a relevant market and
10   show that the defendant plays enough of a role in that
11   market to impair competition significantly.”); Los
12   Angeles Mem'l Coliseum Comm'n v. Nat'l Football League,
13   726 F.2d 1381, 1392 (9th Cir. 1984) (“The relevant
14   market provides the basis on which to balance
15   competitive harms and benefits of the restraint at
16   issue. [citations omitted]          Such evidence is essential
17   in a section 1 case.”).         When a plaintiff produces
18   “insufficient evidence to show either the geographic or
19   the product market,” summary judgment is appropriate.
20   Morgan, Strand, Wheeler & Biggs v. Radiology, Ltd., 924
21   F.2d 1484, 1489 (9th Cir. 1991).
22       Plaintiff defines the relevant market as one for
23   “shipping consultation services,” which includes those
24   business entities which advise shippers regarding the
25   delivery of time sensitive letters, documents, and
26   packages by air or by ground within the United States
27   and to and from the United States to foreign countries.
28
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 35 of 52 Page ID
                                 #:16317


 1   (Opp’n at 23; ASUF ¶ 53.)          Defendants define the
 2   relevant market as the market for contract price
 3   negotiation services.        (UMSJ at 16; FMSJ at 14-15.)
 4   The Court need not determine which characterization of
 5   the market is proper, as Plaintiff has not produced any
 6   evidence to demonstrate that its purported market is
 7   legally cognizable.
 8       Plaintiff provides no expert evidence to support
 9   its market definition.         The Court previously excluded
10   Mr. Brotman’s testimony under Federal Rule of Evidence
11   702 and does not consider it here.             (See generally MiL
12   Order.)    Without any expert testimony to opine on the
13   scope of the relevant market, it is difficult to see
14   how Plaintiff could meet its evidentiary burden.                  See
15   Plush Lounge Las Vegas LLC v. Hotspur Resorts Nev.
16   Inc., 371 F. App'x 719, 721 (9th Cir. 2010) (“With
17   large portions of the Katavic and Pressman declarations
18   stricken, Plush had insufficient evidence to sustain a
19   jury verdict on its proposed market definition.”); In
20   re Live Concert Antitrust Litig., 863 F. Supp. 2d 966,
21   1000 (C.D. Cal. 2012) (concluding that there is an
22   “[in]adequate evidentiary basis in the record, absent
23   Dr. Phillips' testimony, for a jury to find that
24   Plaintiffs have defined an economically significant
25   product market”); Hynix Semiconductor Inc. v. Rambus
26   Inc., No. CV-00-20905 RMW, 2008 WL 73689, at *10 (N.D.
27   Cal. Jan. 5, 2008) (“Establishing market definition in
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 36 of 52 Page ID
                                 #:16318


 1   this case likely requires expert testimony. . . .
 2   Given the complexity of the task, a jury likely cannot
 3   conclude that two technologies are ‘close substitutes’
 4   and hence comprise a relevant technology market without
 5   expert testimony.”).
 6
 7       a. Services
 8
 9       A relevant market “must encompass the product at
10   issue as well as all economic substitutes for the
11   product.”    Newcal Indus., 513 F.3d at 1045.              “As the
12   Supreme Court has instructed, ‘The outer boundaries of
13   a product market are determined by the reasonable
14   interchangeability of use or the cross-elasticity of
15   demand between the product itself and substitutes for
16   it.’”   Id. (quoting Brown Shoe v. United States, 370
17   U.S. 294, 325 (1962)).
18       Plaintiff evasively and confusingly avoids stating
19   exactly what services are sold in the relevant market.
20   Initially, Plaintiff contended that its market was
21   simply for shipping advice.          (ASUF ¶ 53.)       It is
22   unclear to the Court exactly what “advice” Plaintiff
23   intended to include in the market.             Perhaps recognizing
24   the vagueness of its market definition, Plaintiff
25   further contends that the market for shipping
26   consultation services primarily includes gathering and
27   analyzing a shipper’s past shipping history and
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 37 of 52 Page ID
                                 #:16319


 1   developing a strategy to help a shipper match its needs
 2   to a carrier’s services and obtain maximum profit.
 3   (ASUF ¶ 3.)     Even with this narrowing, the Court cannot
 4   define the products or services Plaintiff seeks to
 5   include in its selected market, which is fatal to
 6   Plaintiff’s claims.        See Walker Process Equip., Inc. v.
 7   Food Mach. & Chem. Corp., 382 U.S. 172, 177–78 (1965)
 8   (“Without a definition of [the] market, there is no way
 9   to measure [Defendants'] ability to lessen or destroy
10   competition.”); Kaplan v. Burroughs Corp., 611 F.2d
11   286, 295 (9th Cir. 1979) (affirming judgment
12   notwithstanding the verdict because plaintiff presented
13   only “vague references to the overall data processing
14   market” and “the record [was] silent” as to the
15   “question of market definition”).
16       As best as it can be understood by the Court,
17   Plaintiff’s market definition represents only a subset
18   of the services Plaintiff offers.             Plaintiff admits its
19   primary service is representing shippers in negotiating
20   competitive shipping contracts with carriers, which
21   represents ninety-five percent of its business.                 (USUF
22   ¶ 1; AUSGI ¶ 1.)       Plaintiff also analyzes carrier
23   proposals, implements new agreements, and does an
24   ongoing review of carrier pricing trends to monitor
25   savings and contract compliance.            (Gates Decl., Exh. 5
26   at 74.)    However, these services are noticeably absent
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 38 of 52 Page ID
                                 #:16320


 1   from Plaintiff’s description of the shipping
 2   consultation services market.
 3       The Court must “properly follow[] precedent in this
 4   area by restricting the relevant market to one in
 5   wherein commercial reality exists.”             Twin City
 6   Sportservice, Inc. v. Charles O. Finley & Co., 676 F.2d
 7   1291, 1299 (9th Cir. 1982).          Plaintiff has produced no
 8   evidence to demonstrate that the arbitrary subset of
 9   Plaintiff’s services selected for inclusion in the
10   “shipping consultation services” market is a
11   commercially cognizable market.            In fact, Plaintiff has
12   provided no evidence that its customers purchase only
13   the “advice” component of its services.               Defendants’
14   evidence – the only evidence on this point in the
15   record – demonstrates that the standalone “advice”
16   component of Plaintiff’s services represents
17   approximately 0.51% of Plaintiff’s revenue.                (Harris
18   Decl., Exh. 1 ¶ 21.)        There is no evidence as to which
19   additional TPCs, if any, sell this “advice,” that
20   Defendants sell this advice, or that there are any
21   consumers who are in the market to buy this advice and
22   what they will pay.        Despite a requirement to do so,
23   Plaintiff has not produced “market data, figures or
24   other relevant material adequately describing the
25   nature, cost, usage, or other features of competing
26   products” to determine the bounds of the relevant
27   market.    Bhan v. NME Hosps., Inc., 669 F. Supp. 998,
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 39 of 52 Page ID
                                 #:16321


 1   1018 (E.D. Cal. 1987), aff'd, 929 F.2d 1404 (9th Cir.
 2   1991).    Plaintiff has not demonstrated that there is a
 3   market for this marginal subset of Plaintiff’s services
 4   or that there are any other participants in this
 5   market, let alone that there is a “relationship between
 6   changes in price and responsive changes in demand.”
 7   United States v. LSL Biotechnologies, 379 F.3d 672, 697
 8   (9th Cir. 2004) (defining “elasticity of demand”).
 9   Plaintiff’s failure to produce such evidence prevents
10   it from defining the relevant service market and
11   precludes it, as a matter of law, from establishing its
12   claims.
13       Further, Plaintiff admits that trade was only
14   restrained in the market for negotiation services.
15   (ASUF ¶¶ 54-55; AUSGI ¶ 86; Opp’n at 2 (defining the
16   TPC Policy as Defendants’ agreement “not to deal with a
17   TPC that the other had declined to allow[] to
18   participate in negotiations”).)            Yet, contrary to
19   established Ninth Circuit precedent, Plaintiff’s
20   definition of the relevant market includes services far
21   beyond those it admits were restrained, including any
22   advice based on a shipper’s past history that helps it
23   select carrier services and maximize profit.                (ASUF
24   ¶ 53.)    See Exhibitors' Serv., Inc. v. Am. Multi-
25   Cinema, Inc., 788 F.2d 574, 579 (9th Cir. 1986) (“[T]he
26   requirement laid down in Associated General Contractors
27   is that the plaintiff and conspirators compete in the
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 40 of 52 Page ID
                                 #:16322


 1   ‘market in which trade was restrained.’”) (emphasis in
 2   original) (quoting Associated Gen. Contractors, 459
 3   U.S. at 539).      Plaintiff has not demonstrated that the
 4   additional services included in the market beyond those
 5   restrained are reasonably interchangeable therewith.
 6   See In re Air Passenger Computer Reservations Sys.
 7   Antitrust Litig., 694 F. Supp. 1443, 1457 (C.D. Cal.
 8   1988), aff'd sub nom. Alaska Airlines, Inc. v. United
 9   Airlines, Inc., 948 F.2d 536 (9th Cir. 1991)
10   (“[P]roducts and services which are ‘reasonably
11   interchangeable’ for the same or similar uses normally
12   should be included in the same product market for
13   antitrust purposes.”) (citing Kaplan, 611 F.2d at 291).
14
15       b. Participants
16
17       The relevant market must include “the group or
18   groups of sellers or producers who have actual or
19   potential ability to deprive each other of significant
20   levels of business.”        Thurman Indus., Inc. v. Pay 'N
21   Pak Stores, Inc., 875 F.2d 1369, 1374 (9th Cir. 1989).
22   Plaintiff contends that itself, Defendants, and “other
23   similar TPCs” are participants in the market for
24   shipping consultation services.            (Opp’n at 23.)
25   Plaintiff seeks to further define these “other TPCs” as
26   entities which gather and analyze data, including
27   shippers’ past transactions, to develop a strategy, to
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 41 of 52 Page ID
                                 #:16323


 1   advise and help a shipper negotiate or otherwise obtain
 2   maximum savings for their shipping needs, and to match
 3   the shipper’s needs to a carrier’s delivery services.
 4   (Opp’n at 3.)
 5          “[M]arket definition must look at all relevant
 6   sources of supply, either actual rivals or eager
 7   potential entrants to the market.”             Kaplan, 611 F.2d at
 8   292 (citations omitted).         As Defendants point out,
 9   there are numerous other consultants that provide
10   advice to shippers to help them select carrier services
11   and save money on shipping costs, including entities
12   that assist with warehouse location, inventory
13   management, technology solutions, product returns,
14   packaging, and auditing carrier bills.              (USUF ¶¶ 70-
15   81.)    Plaintiff contends that none of these entities or
16   services is included in its market.             (Opp’n at 34-36.)
17   Plaintiff provides no factual basis for excluding the
18   services provided by these shipping consultants from
19   its alleged market and engages in no analysis to
20   determine whether these services are substitutes for
21   the services Plaintiff includes in its market.                 See
22   Newcal Indus., 513 F.3d at 1045 (stating that field of
23   competition is not limited to producers of particular
24   “product at issue” but also includes producers of “all
25   economic substitutes for the product”).               Instead,
26   Plaintiff offers an entirely circular argument,
27   asserting that these services must be excluded from the
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 42 of 52 Page ID
                                 #:16324


 1   market because the TPC Policy was not targeted at them.
 2   (See ASUF ¶¶ 54-55; Opp’n at 36.)             Limiting the market
 3   solely based on Defendants’ policies is erroneous.
 4   Rather, the market must be defined by looking at the
 5   “goods and services that sellers or producers offer.”
 6   Thurman Indus., 875 F.2d at 1374.             In other words, the
 7   services that were allegedly restrained must comprise a
 8   legally and commercially cognizable market.                Plaintiff
 9   has produced no evidence tending to support the
10   boundaries of its selected market.
11       In addition, Plaintiff arbitrarily excludes
12   shippers’ in-house employees who similarly gather and
13   analyze shipper data to advise a shipper on methods of
14   saving money on its carrier contracts.              (See USUF
15   ¶¶ 83-84; Opp’n at 37-38.)          “[A] product market is
16   typically defined to include the pool of goods or
17   services that qualify as economic substitutes because
18   they enjoy reasonable interchangeability of use and
19   cross-elasticity of demand.”           Thurman Indus., 875 F.2d
20   at 1374.    Supreme Court precedent indicates that the
21   demands of all consumers must be analyzed and the
22   relevant market must include all suppliers and
23   consumers of the particular product.              See United States
24   v. E. I. du Pont de Nemours & Co., 351 U.S. 377, 393-95
25   (1956).    Over eighty percent of shippers do not hire
26   TPCs to advise them on their shipping needs, yet they
27   enter shipping contracts with carriers.               Plaintiff
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 43 of 52 Page ID
                                 #:16325


 1   provides no evidence or explanation for why these in-
 2   house advisors are not economic substitutes for TPCs.
 3   Plaintiff instead argues that TPCs are better at
 4   providing advice than in-house employees, thus in-house
 5   employees must be excluded.          (See Opp’n at 37.)         This
 6   is not a proper basis for exclusion.              See In re Super
 7   Premium Ice Cream Distrib. Antitrust Litig., 691 F.
 8   Supp. 1262, 1268 (N.D. Cal. 1988) (“Courts have
 9   repeatedly rejected efforts to define markets by price
10   variances or product quality variances.               Such
11   distinctions are economically meaningless where the
12   differences are actually a spectrum of price and
13   quality differences.”).         Plaintiff also argues that
14   Defendants, not shippers’ in-house employees, provide
15   advice when a TPC is not hired.            (Opp’n at 37.)
16   However, Plaintiff provides no evidence to support this
17   asserted fact.16      (AUSGI ¶¶ 83-84.)        See Morgan, Strand,
18   Wheeler & Biggs, 924 F.2d at 1489 (granting summary
19   judgment where there was “insufficient evidence for a
20   jury to conclude that University and osteopathic
21   radiologists cannot compete with private medical
22   radiologists”).      The Court finds it implausible that
23   there would be no cross-elasticity between in-house
24
25       16 Even if Defendants supplied advice in the absence
26   of a TPC, there is no explanation for why a shipper’s
     in-house employees could not also do so. There are no
27   facts from which one can draw a reasonable inference
     that the advice offered by shippers’ employees may be
28   excluded from the market, assuming one exists.
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 44 of 52 Page ID
                                 #:16326


 1   employees providing shipping advice and negotiation
 2   services and the same services provided by TPCs.
 3       Without factual support, Plaintiff excludes USPS
 4   and regional carriers from its “shipping consultation
 5   services market.”       There is undisputed evidence in the
 6   record that TPCs provide advice regarding carriers
 7   other than UPS and FedEx.          (Reply Gates Decl., Exh. 175
 8   at 188:6-23; Exh. 176 at 30:13-22; Exh. 183 at 71:20 to
 9   72:9; Exh. 157.)       Plaintiff provides no explanation for
10   excluding these alternate participants from the market.
11   Plaintiff appears to argue that USPS and regional
12   carrier should be excluded because they do not provide
13   “time sensitive” delivery services.             (ASUF ¶ 15.)
14   However, Plaintiff presents no evidence to support this
15   fact.     In fact, the evidence in the record supports the
16   conclusion that USPS and regional carriers actually do
17   offer time-sensitive delivery services.               (USGI ¶ 15.)
18   Once again, and without analysis, explanation, or
19   evidence, Plaintiff illogically excludes carriers from
20   the market about which it uncontrovertedly supplies
21   advice.
22       Plaintiff attempts to construct a market for
23   “shipping consultation services” that includes only
24   Defendants, Plaintiff, and TPCs affected by the TPC
25   Policy.     The primary problem with Plaintiff’s market is
26   that there is no evidence that such a market exists or
27   that it includes the participants or services Plaintiff
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 45 of 52 Page ID
                                 #:16327


 1   identifies.     “Plaintiff cannot artificially create
 2   antitrust claims by narrowly defining the market to
 3   create the appearance of an antitrust injury.”                 Smalley
 4   & Co. v. Emerson & Cuming, Inc., 808 F. Supp. 1503,
 5   1512 (D. Colo. 1992), aff'd, 13 F.3d 366 (10th Cir.
 6   1993); see also Gough v. Rossmoor Corp., 585 F.2d 381,
 7   389 (9th Cir. 1978) (“[I]n determining the relevant
 8   market the courts are not free to accept whatever
 9   market is suggested by the plaintiff as fitting most
10   persuasively with his contention that his power to
11   compete effectively has suffered injury.”).                Plaintiff
12   has ignored its own business model and the realities of
13   the services it provides.          Plaintiff cannot avoid
14   summary judgment by declaring that the “defining the
15   market ‘is a factual inquiry for the jury.’” (Opp’n at
16   34 (citation omitted).)         It remains Plaintiff’s burden
17   to present a factual question as to the relevant market
18   in order to survive summary judgment.              See Int'l
19   Healthcare Mgmt. v. Haw. Coal. for Health, 332 F.3d
20   600, 604 (9th Cir. 2003) (“Although antitrust cases are
21   sometimes difficult to resolve on summary judgment
22   because of their factual complexity, summary judgment
23   is still appropriate in certain cases.”) (internal
24   quotation omitted); Rebel Oil Co. v. Atl. Richfield
25   Co., 51 F.3d 1421, 1435 (9th Cir. 1995) (“If Rebel's
26   evidence cannot sustain a jury verdict on the issue of
27   market definition, summary judgment is appropriate.”).
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 46 of 52 Page ID
                                 #:16328


 1   Plaintiff has not done so; therefore summary judgment
 2   is appropriate.17
 3       Plaintiff relies heavily on the cases of Amarel v.
 4   Connell, 102 F.3d 1494 (9th Cir. 1997), and Yellow
 5   Pages Cost Consultants, Inc. v. GTE Directories Corp.,
 6   951 F.2d 1158 (9th Cir. 1991).             (Opp’n at 23-26.)       Both
 7   cases address the question of standing where the
 8   plaintiff offered evidence of a clearly defined
 9   cognizable market.       See Amarel, 102 F.3d at 1509
10   (“Plaintiffs introduced evidence that they are
11   ‘competitors’ in the market for milled rice because
12   they tender paddy rice to the independent mills under
13   ‘participation contracts’ which entitle them to a share
14   of profits from the sale of milled rice.”); Yellow
15   Pages, 951 F.2d at 1161 (“Consultants offer
16
17       17 In opposition to summary judgment, Plaintiff
     alleges an alternative market for “delivery services.”
18   (Opp’n at 23.) The Court previously ruled that
19   Plaintiff is not “a participant in the market for
     shipping services,” and thus it “cannot have suffered
20   antitrust injury” in that market. (MTD 1 Order at 17-
     18.) Moreover, Plaintiff did not reallege the delivery
21   services market in the TAC. (See TAC ¶ 6 (alleging
     only a market for “shipping consultation services”).)
22   Plaintiff “may not effectively amend its Complaint by
23   raising a new theory of standing in its response to a
     motion for summary judgment.” La Asociacion de
24   Trabajadores de Lake Forest v. City of Lake Forest, 624
     F.3d 1083, 1089 (9th Cir. 2010); see also Coleman v.
25   Quaker Oats Co., 232 F.3d 1271, 1292-93 (9th Cir. 2000)
26   (refusing to allow plaintiff to raise a new theory in
     opposition to summary judgment which was not pled in
27   the complaint). The Court therefore does not consider
     Plaintiff’s arguments regarding the “delivery services”
28   market.
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 47 of 52 Page ID
                                 #:16329


 1   considerable evidence that they compete in the service
 2   market of advising advertisers regarding the form,
 3   cost, content and location of yellow pages
 4   advertisements . . . .”).          Here, Plaintiff has not
 5   surpassed the crucial hurdle of presenting evidence
 6   that Plaintiff and Defendants offer services within a
 7   commercially cognizable relevant market where the
 8   services are reasonably interchangeable and where there
 9   is cross-elasticity of demand.             See Rebel Oil, 51 F.3d
10   at 1436.    Without a clear understanding of the services
11   or participants in the alleged market, Amarel and
12   Yellow Pages cannot help Plaintiff avoid summary
13   judgment.
14
15     2. Per Se
16
17       In order to avoid having to put forth a rational
18   and supported market definition, Plaintiff argues that
19   the Court should find that Defendants have committed
20   per se violations of the Sherman Act.              (Opp’n at 7-8
21   (citing Big Bear Lodging Ass'n v. Snow Summit, Inc.,
22   182 F.3d 1096, 1101-02 (9th Cir. 1999) (“Elaborate
23   market analysis and case-by-case evaluation are
24   unnecessary in cases involving per se antitrust
25   violations because the anticompetitive effects of the
26   practice are presumed.”).)          “Resort to per se rules is
27   confined to restraints . . . that would always or
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 48 of 52 Page ID
                                 #:16330


 1   almost always tend to restrict competition and decrease
 2   output.    To justify a per se prohibition a restraint
 3   must have manifestly anticompetitive effects, and lack
 4   . . . any redeeming virtue.”           Leegin Creative Leather
 5   Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 886 (2007)
 6   (second alteration in original) (internal citations and
 7   quotations omitted).
 8       Fatal to Plaintiff’s argument is the clear
 9   requirement that “the per se rule is appropriate only
10   after courts have had considerable experience with the
11   type of restraint at issue, and only if courts can
12   predict with confidence that it would be invalidated in
13   all or almost all instances under the rule of reason.”
14   Id. at 886-87 (internal citations omitted).                In order
15   to fit it within per se treatment, Plaintiff
16   characterizes the TPC Policy as an “illegal boycott.”
17   (Opp’n at 8.)      However, Plaintiff has not pointed to a
18   single case applying per se treatment which resembles
19   the factual scenario here or characterizes facts
20   similar to these as a group boycott.
21       The Supreme Court in FTC v. Indiana Federation of
22   Dentists, 476 U.S. 447 (1986), refused to apply the per
23   se designation to an agreement by competing dentists to
24   deny patient X-rays to insurance companies.                The
25   dentists did not want to share the X-rays because they
26   wanted to prevent the insurance companies from
27   reviewing the propriety of the dentists' charges.                  Id.
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 49 of 52 Page ID
                                 #:16331


 1   at 455.    The Court declined to invoke the per se rule,
 2   reasoning that “the category of restraints classed as
 3   group boycotts is not to be expanded indiscriminately,
 4   and the per se approach has generally been limited to
 5   cases in which firms with market power boycott
 6   suppliers or customers in order to discourage them from
 7   doing business with a competitor.”             Id. at 458
 8   (emphasis added).       This definition does not fit the
 9   facts presented here.        Plaintiff contends that
10   Defendants “refus[ed] to deal with TPCs,” but there is
11   no dispute that Plaintiff and other TPCs are not
12   “suppliers or customers” of Defendants.               (Opp’n at 7.)
13   Thus, the factual scenario presented here does not
14   satisfy the Supreme Court’s definition of a boycott
15   that merits per se treatment.
16       The Ninth Circuit’s test for the applicability of
17   the per se standard to a group boycott confirms this
18   conclusion.     Three characteristics indicate the
19   existence of a per se illegal boycott:
20
21             (1) the boycott cuts off access to a
               supply, facility, or market necessary
22
               to enable the victim firm to compete;
23             (2) the boycotting firm possesses a
               dominant market position; and (3) the
24
               practices are not justified by
25             plausible arguments that they enhanced
               overall efficiency or competition.
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 50 of 52 Page ID
                                 #:16332


 1   Adaptive Power Solutions, LLC v. Hughes Missile Sys.
 2   Co., 141 F.3d 947, 950 (9th Cir. 1998) (quoting Hahn v.
 3   Or. Physicians’ Serv., 868 F.2d 1022, 1030 (9th Cir.
 4   1988)).
 5          Plaintiff has produced no evidence as to the second
 6   element.    The record is devoid of proof that FedEx and
 7   UPS possess a dominant position in the market for
 8   “shipping consultation services.”             Moreover, although
 9   the Court does not evaluate the propriety of the TPC
10   Policy, Defendants present a plausible argument that it
11   is procompetitive because it allowed them to deal
12   directly with their shipping customers, thereby
13   increasing efficiency.         (Williams Decl., Exh. 1 ¶¶ 96-
14   97.)    Accordingly, the TPC Policy does not trigger the
15   per se rule of a group boycott, and Plaintiff must
16   prove the existence of the relevant market and
17   anticompetitive effects.
18
19     3. Quick Look
20
21          In a footnote, Plaintiff also argues that “quick
22   look” analysis should apply.           (Opp’n at 8 n.5.)
23   “[T]his truncated rule of reason or ‘quick look’
24   antitrust analysis may be appropriately used where an
25   observer with even a rudimentary understanding of
26   economics could conclude that the arrangements in
27   question would have an anticompetitive effect on
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 51 of 52 Page ID
                                 #:16333


 1   customers and markets.”         California ex rel. Harris v.
 2   Safeway, Inc., 651 F.3d 1118, 1134 (9th Cir. 2011)
 3   (internal quotation omitted).              “Full rule of reason
 4   treatment is unnecessary where the anticompetitive
 5   effects are clear even in the absence of a detailed
 6   market analysis.       But if an arrangement might plausibly
 7   be thought to have a net procompetitive effect, or
 8   possibly no effect at all on competition, then a ‘quick
 9   look’ form of analysis is inappropriate.”               Id.
10   (internal citation and quotation omitted).                As noted
11   above, Plaintiff has presented a plausible
12   procompetitive justification for the TPC Policy, thus a
13   quick look will not suffice.           See id. at 1138 (“Because
14   we cannot reach a confident conclusion that the
15   principal tendency of the [provision] is to restrict
16   competition, truncated review is inappropriate.”);
17   Texaco Inc. v. Dagher, 547 U.S. 1, 7 (2006) (“But for
18   the same reasons that per se liability is unwarranted
19   here, we conclude that petitioners cannot be held
20   liable under the quick look doctrine.”).
21       Under rule of reason analysis, “the plaintiff bears
22   the initial burden of showing that the restraint
23   produces significant anticompetitive effects within a
24   relevant market.”       Tanaka, 252 F.3d at 1063.             Plaintiff
25   has produced no evidence from which a reasonable jury
26   could find that its market for “shipping consultation
27   services” is the relevant market.              See, e.g., Pacifica
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Case 2:10-cv-05830-JGB-AJW Document 296 Filed 04/30/15 Page 52 of 52 Page ID
                                 #:16334


 1   Kidney Ctr., Inc. v. Nat'l Med. Care, Inc., 995 F.2d
 2   232 (9th Cir. 1993) (granting summary judgment to
 3   defendant because “Pacifica has not adequately defined
 4   the relevant geographic market”); Morgan, Strand,
 5   Wheeler & Biggs, 924 F.2d at 1489 (granting summary
 6   judgment in favor of defendants based on plaintiffs’
 7   failure to “show the relevant market” because “[o]ne
 8   simply cannot conclude from the evidence who competes
 9   to supply radiology services to patients”).
10   Accordingly, summary judgment is appropriate.
11
12                             V.    CONCLUSION
13
14       For the foregoing reasons, the Court GRANTS
15   Defendants’ motions for summary judgment, (Doc. Nos.
16   130, 140, 229, 246), and DISMISSES all causes of action
17   in the Third Amended Complaint WITH PREJUDICE.
18       As stated above, UPS’s application for leave to
19   file a supplemental brief is DENIED.              (Doc. No. 257.)
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21
22
23
24   Dated: April 30, 2015            ____________________________
25                                           Jesus G. Bernal
                                      United States District Judge
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